November 14, 2006


Mr. Matthew Brian Probus
Wauson Probus
Comerica Bank Building
One Sugar Creek Center Blvd, Suite 880
Sugar Land, TX 77478

Mr. Blake Edward Rizzo
Porter &amp; Hedges
1000 Main St 36Th Floor
Houston, TX 77002-6336
Mr.  David  R.  Jones
Porter &amp; Hedges, L.L.P.
1000 Main Street, 36th Floor
Houston, TX 77002

RE:   Case Number:  06-0347
      Court of Appeals Number:
      Trial Court Number:  04-21025

Style:      CHARLES F. HARDY, III
      v.
      INTERNATIONAL INTERESTS, L.P.

Dear Counsel:

      We inadvertently stated that the  above-referenced  case  was  removed
from the Court's active docket until  January  9,  2006.   Enclosed  is  the
corrected abatement order.
                       Sincerely,
                       [pic]


                       Blake A. Hawthorne, Clerk


                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Mr. Charles F.       |
|   |Fulbruge III         |


